Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.16 Page 1 of 12




                             EXHIBIT 2
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.17 Page 2 of 12



                           REDACTED
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.18 Page 3 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.19 Page 4 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.20 Page 5 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.21 Page 6 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.22 Page 7 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.23 Page 8 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.24 Page 9 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.25 Page 10 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.26 Page 11 of 12
Case 4:19-cv-05176-SMJ   ECF No. 2-2   filed 07/02/19   PageID.27 Page 12 of 12
